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 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                            CASE NO. 1:14-CR-00226 DAD-BAM

12                                 Plaintiff,             STIPULATION TO CONTINUE STATUS
                                                          CONFERENCE AND ORDER THEREON
13                          v.

14   ESTELO CHAIDEZ-LEON, ET. AL.                         Date: March 28, 2016
                                                          Time: 1:00 p.m.
15                                 Defendant.             Honorable Barbara A. McAuliffe

16

17          The United States of America, by and through BENJAMIN B. WAGNER, United States
18 Attorney, and KATHLEEN A. SERVATIUS, Assistant United States Attorneys, and the defendants, by

19 and through their respective attorneys of record, hereby stipulate to continue the status hearing of the

20 above-referenced case from March 28, 2016 until May 9, 2016 at 1:00 p.m.

21          The basis for this continuance is as follows: Counsel are still reviewing discovery and additional
22 time is needed for investigation.

23          As the requested date represents the earliest date that all counsel are available, taking into
24 account their schedules and commitments to other clients, and the need for preparation in the case and

25 further investigation, the parties request that time be excluded to and through the date of March 28, 2016

26 through May 9, 2016, in that failure to grant the requested continuance would unreasonably deny the

27 defendants continuity of counsel, and unreasonably deny both the defendants and the government the

28 reasonable time necessary for effective preparation, taking into account the parties’ due diligence in



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 1 prosecuting this case. 18 U.S.C. Section 3161(h)(7)(B)(iv). Based on the above-stated findings, the

 2 ends of justice served by continuing the case as requested outweigh the interest of the public and the

 3 defendant in a trial within the original date prescribed by the Speedy Trial Act. Therefore, the parties

 4 request that the Court exclude the time until the new trial date from calculations under the Speedy Trial

 5 Act.

 6 Dated: January 28, 2016                                  BENJAMIN B. WAGNER
                                                            United States Attorney
 7

 8                                                          /s/ Kathleen A. Servatius
                                                            KATHLEEN A. SERVATIUS
 9                                                          Assistant United States Attorney
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11 Dated: January 26, 2016                                 /s/ JeromePrice and Megan Hopkins
                                                           Attorneys for Defendant Estelo Chaidez-Leon
12

13 Dated: January 26, 2016                                 /s/ Daniel L. Harrelson
                                                           Attorney for Defendant Pedro Olguin-Leon
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15 Dated: January 26, 2016                                 /s/ Katherine Louise Hart
                                                           Attorney for Defendant Leonor Sarabia
16

17 Dated: January 26, 2016                                 /s/ Mark W. Coleman
                                                           Attorneys for Defendant Joseph Phillip Mar
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19 Dated: January 26, 2016                                 /s/ Peter Michael Jones
                                                           Attorneys for Defendant Victor Perez Virgen
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21
                                                   ORDER
22
            IT IS SO ORDERED THAT the 6th and 5th Status Conference for the above named defendants is
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     being continued from March 28, 2016 to May 9, 2016 at 1:00PM before Judge McAuliffe.
24
            IT IS FURTHER ORDERED THAT the ends of justice served by continuing the case as
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     requested outweigh the interest of the public and the defendant in a trial within the original date
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     prescribed by the Speedy Trial Act for the reasons stated in the parties’ stipulation. For the purpose of
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     computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et seq., within which trial must
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 1 commence, the time period of March 28, 2016 to May 9, 2016, inclusive, is deemed excludable pursuant

 2 to 18 U.S.C.§ 3161(h)(7)(A), B(iv) because it results from a continuance granted by the Court

 3 at the parties’ request on the basis of the Court’s finding that the ends of justice served by taking such

 4 action outweigh the best interest of the public and the defendant in a speedy trial.

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     IT IS SO ORDERED.
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 7      Dated:     January 28, 2016                           /s/ Barbara A. McAuliffe              _
                                                       UNITED STATES MAGISTRATE JUDGE
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